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JMG: USA02018R00558

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICTOF MARYLAND
(Northern Division)

CRIM. NO. RO b-17-026: om

 

UNITED STATES OF AMERICA }
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v. } (False Claims, 18 U.S.C. § 2 28g Wo
) Causing an Act to Be D ee __
KYLE DURAN SMEGO, ) 18 U.S.C. § 2(b)) ~_ ~ 9
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Defendant. ) wht a
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INFORMATION ev

The United States Attorney for the District of Maryland charges that, at all times
relevant to this Information:

1. The National Security Agency (NSA) was a component of the United States
Department of Defense, which was part of the executive branch of the United States
government.

2. During the period from February 2016 to present, the NSA had ongoing
contracts identified as H98230-13-D-0162 (DO oo1) (known as the CTS contract) and
H98230-17-C-0134 (known as the ROADRALLY contract) with an outside company
(Contractor A). Each of these contracts required Contractor A to provide it with |
information technology (IT) services, which included providing software engineers and
developers to work onsite at various NSA or Contractor A locations.

3. Contractor A in turn contracted with Subcontractor 1 to provide it with
software engineers and developers in connection with the CTS contract, and it likewise

contracted with Subcontractor 2 to provide it with software engineers and developers

needed in connection with the ROADRALLY contract.
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4. Defendant KYLE DURAN SMEGO was a resident of Linthicum Heights,
Maryland. From in or about February 2016 through in or about May 2018, SMEGO
was successively employed on a full-time basis by Subcontractors 1 and 2 to work on the
CTS and ROADRALLY contracts held by Contractor A as a software engineer/front end
developer. SMEGO’s duty stations with respect to the CTS contract were variously at
locations known as NBP1, FANX3, and the R&E (Research & Engineering) Building at
the NSA’s facility at Fort Meade, Maryland, and at NBP 410, a Contractor A facility.
SMEGO’s duty stations with respect to the ROADRALLY contract were initially at the
R&E Building and then at OPS1 at the NSA’s facility at Fort Meade, Maryland.

5. Because the subject matter of both of these contracts involved classified
information, al] of the work performed on these contracts had to be at secure, access-
controlled locations. Under the NSA’s contract with Contractor A and his contracts with
Subcontractors 1 and 2, SMEGO was therefore required to be physically present at his
assigned duty locations to perform his responsibilities on the CTS and ROADRALLY |
contracts.

6. Subcontractors 1 and 2 each required SMEGO to submit timesheets in
electronic form. Those timesheets required SMEGO to provide date- and task-specific
entries setting forth the number of hours he had worked on the CTS and ROADRALLY
contracts and supplying the technical task order (TTO) of the work he had performed or
any applicable leave category (e.g., vacation, sick, or holiday). Subcontractors 1 and 2
then submitted SMEGO’s reported hours on a weekly basis to Contractor A and billed
Contractor A for the services provided by SMEGO and other personnel they had hired.

Subcontractor 1 billed Contractor A for SMEGO’s services at loaded labor rates ranging
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from $112.26 to $128.78 an hour, while Subcontractor 2 billed Contractor A for
SMEGO ata loaded labor rate of $159.08 an hour.

7. Based upon those invoices submitted by Subcontractors 1 and 2,
Contractor A then presented monthly invoices to the NSA for the hours that SMEGO
claimed to have worked, typically adding a small mark-up to the labor rate each
subcontractor had billed for SMEGO. NSA then paid Contractor A for SMEGO’s time
based upon the labor rates it submitted; Contractor 1 in turn paid Subcontractors 1 and
2 based upon the rates they had submitted for SMEGO’s time; and Subcontractors 1

_and 2 in turn paid SMEGO based upon his agreed hourly rate for the hours he had
reported.

8. Between February 2016 and November 2017, SMEGO reported to

- Subcontractor 1 that he had worked 3,289 hours on the CTS contract. Between
November 2017 and May 2018, SMEGO reported to Subcontractor 2 that he had
worked 797.5 hours on the ROADRALLY contract.

9. A subsequent review by the NSA of access control (key card) and timecard
information demonstrated that SMEGO was noi actually present at his assigned duty
stations for 1,326 of the 3,289 hours he had reported to Subcontractor 1 (40.3%) and
375 of the 797.5 hours he had reported to Subcontractor 2 (47%). All of these hours that
were falsely reported by SMEGO were subsequently billed by the subcontractors to
Contractor A, and in turn were billed by Contractor A in turn to the NSA. The
timesheets that SMEGO submitted to Subcontractors 1 and 2 included entries for 119
separate days in which SMEGO represented that he had worked an average of 8 hours
(94 days for Subcontractor A and 25 days for Subcontractor B) when, in fact, he had not

accessed his assigned work locations and had not worked at all on those days.

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10. Based upon the false and fictitious billing records submitted by SMEGO
to Subcontractors 1 and 2, which they in turn submitted to Contractor A and which it
then submitted to the NSA, the NSA in turn overpaid Contractor A by $160,724.42,
more or less, for fictitious hours reported by SMEGO on the CTS contract and
$59,655.00, more or less, for fictitious hours that he reported on the ROADRALLY
contract, for a total combined overpayment of approximately $220,379.42.
Subcontractors 1 and 2 then respectively paid SMEGO $85,275 and $29,835 for work

he had not actually performed on these contracts — a total of $115,110.

The Charge

11. On or about July 31, 2017, in the State and District of Maryland, the

defendant,
KYLE DURAN SMEGO,

caused Contractor A to submit a false, fictitious and fraudulent claim upon and against
the NSA, an agency of the United States, that is, an invoice that represented that for the
period between July i and July 30, 2017, defendant SMEGO had worked 99.75 hours at
the FANX3 facility of the NSA on the CTS contract, whereas, in truth and in fact,
defendant SMEGO actually worked only 23.25 hours, more or less, at the FANX3
facility during that period, and defendant SMEGO had knowingly submitted a false,
fictitious and fraudulent timesheet/time record to Subcontractor 1 representing that he
had worked 99.75 hours in that time period, knowing that Subcontractor 1 would in turn

submit an invoice or request for payment based on his false and fictitious timesheets to
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Contractor A and that it, in turn, would submit invoices containing this false and

fictitious information to the NSA for payment.

18 U.S.C. § 287
18 U.S.C. § 2(b)

 

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Date <_} ROBERT K. HUR
UNITED STATES ATTORNEY
